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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:19−cr−00669
                                                         Honorable Edmond E. Chang
Gregg Smith, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 22, 2023:


       MINUTE entry before the Honorable Edmond E. Chang as to Michael Nowak:
The Defendant is on bond and appeared with the assistance of counsel. The Defendant
was sentenced to 1 year and 1 day in custody and 6 months of supervised release. The
Defendant shall self−surrender to the designated Bureau of Prisons facility by 2:00 p.m.
on 10/23/2023. Judgment in a criminal case to follow. The conditions of release shall
continue to apply until Defendant's self−surrender date, and the Defendant must strictly
comply with them. Emailed notice (mw, )




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